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                       UNITED STATES DISTRICT COURT FOR THE                               APR 1 9 202|
                            EASTERN DISTRICT OF TEXAS
                                                                                      Clerk,
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                                                                                                         t Court
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    CRAIG CUNNINGHAM,                                 §
    Plai tiff,                                        §
                                                      §
    v.                                                §
                                                      §
    Manasseh Jordan Ministries, Inc., aka Bullion     §
    Fitness Inc., aka Kingdom Ministries              §
    Church., Inc., Yakim Manasseh Jordan, aka         §
    Manasseh Jordan, MJ Ministries Spreading          §
    the Gospel, Inc., John/Jane Does 1-5


    Defend nt




                           Plaintiffs Motion to Dismiss with prejudice


     1. The Plaintiff hereby moves to dismiss his claims against all defendants filed in this

         lawsuit with prejudice




         Plaintiff,                    4/19/2021

     Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
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                             UNITED STATES DISTRICT COURT FOR THE
                                  EASTERN DISTRICT OF TEXAS


    CRAIG CUNNINGHAM,                                 §
    Plaintiff,                                        §
                                                      S
    V.                                                §
                                                      §
    Manasseh Jordan Ministries, Inc., aka Bullion     §
    Fitness Inc., aka Kingdom Ministries              §
    Church., Inc., Yakim Manasseh Jordan, aka         §
    Manasseh Jordan, MJ Ministries Spreading          §
    the Gospel, Inc., John Jane Does 1-5


    Defendant




                                       Certificate of Service




     1. I hereby certify a true copy of the foregoing was mailed to the defendants in this case.




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           Pk nuft' 4/19/2021


    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
